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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

                                                 *
UNITED STATES OF AMERICA                         *
                                                 *
              v.                                 *   CR 1:17-34
                                                 *
Reality Leigh Winner                             *
                                                 *
        Defendant                                *


          ORDER ON MOTION FOR LEAVE TO FILE EXCESS-PAGE BRIEF

       Upon motion by the United States and due consideration, the Government’s unopposed

motion for leave to file a brief in excess of twenty-six (26) pages is HEREBY GRANTED. The

Government is granted leave of Court to file a brief not in excess of forty (40) pages.

       This ___ day of _________, 2018



                                                     ____________________________
                                                     J. RANDALL HALL, CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF GEORGIA
